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 4                                   UNITED STATES DISTRICT COURT
 5                                           DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                                 Plaintiff,  )                       Case No. 2:08-cr-00311-RLH-GWF
                                               )
 9   vs.                                       )                        ORDER
                                               )
10   HAGOB PALIKYAN, et al.,                   )
                                               )
11                                 Defendants. )
     __________________________________________)
12
13           This matter is before the Court on the 2nd Notice of Violation of Special Order 109 (#267)
14   on February 9, 2011, addressed to Defendant Hagob Palikyan’s counsel Brandon De Jonge.
15   Section 1.B. of the Courts’ Electronic Filing Procedures (enacted pursuant to Special Order 109)
16   states, in part, “Attorneys who are admitted to the bar of this court, admitted to participate in a case
17   pro hac vice, or who are authorized to represent the United States and its agencies, shall register as
18   Filing Users of the System”. To date, Mr. De Jonge has not complied. Accordingly,
19           IT IS ORDERED that Mr. De Jonge shall register with CM/ECF and a “Notice of
20   Compliance with Special Order 109” shall be completed and filed no later than five (5) days from
21   the date of this Order. Failure to comply may result in the issuance of an order to show cause why
22   sanctions should not be imposed.
23           DATED this 10th day of February, 2011.
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25                                                     ______________________________________
                                                       GEORGE FOLEY, JR.
26                                                     United States Magistrate Judge
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